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                       UNITED STATES DISTRICT COURT
                          DISTRICT OF MINNESOTA


Angela Volness,
                                                        Case No.: 0:22-cv-2037
       Plaintiff,

v.
                                                             COMPLAINT
I.Q. Data International, Inc., Cameron Webb,
Kim Doe,

       Defendants.
                                                    JURY TRIAL DEMANDED


                                   INTRODUCTION

1.    The United States Congress has found abundant evidence of the use of abusive,

      deceptive, and unfair debt collection practices by many debt collectors, and has

      determined that abusive debt collection practices contribute to the number of

      personal bankruptcies, to marital instability, to the loss of jobs, and to invasions of

      individual privacy. Congress wrote the Fair Debt Collection Practices Act, 15

      U.S.C. § 1692 et seq., to eliminate abusive debt collection practices by debt

      collectors, to ensure that those debt collectors who refrain from using abusive debt

      collection practices are not competitively disadvantaged, and to promote consistent

      State action to protect consumers against debt collection abuses.

2.    This action arises out of violations of the Fair Debt Collection Practices Act

      (“FDCPA”), 15 U.S.C. § 1692 et seq., and violations of the Fair Credit Reporting

      Act (“FCRA”), 15 U.S.C. § 1681 et seq., by Defendants and their collection agents



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     in their illegal efforts to collect a consumer debt from Plaintiff.

                                   JURISDICTION

3.   Jurisdiction of this Court arises under U.S.C. § 1692k(d), 15 U.S.C. § 1681, and 28

     U.S.C. § 1367 for pendent state law claims.

4.   Venue is proper because the acts and transactions occurred here, Plaintiff resides in

     Minnesota, and all Defendants transact business here.

5.   Defendant IQDI and its collection employees have transacted business within the

     State of Minnesota by attempting to collect a debt from Plaintiff via the telephone,

     the mails, and/or through the use of email while Plaintiff was located within and

     permanently residing within the State of Minnesota.

6.   Defendant IQDI has transacted business within the State of Minnesota by operating

     a collection agency, making collection calls into Minnesota, and directing debt

     collection activities to Minnesota.

7.   Defendant Webb has transacted business within the State of Minnesota making

     collection calls into Minnesota and directing debt collection activities to Minnesota.

8.   Defendant Doe has transacted business within the State of Minnesota making

     collection calls into Minnesota and directing debt collection activities to Minnesota.

                                       PARTIES

9.   Plaintiff Angela Volness (hereinafter “Plaintiff”) is a natural person who resides in

     the County of Wright, State of Minnesota, and is a “consumer” as that term is

     defined by 15 U.S.C. § 1692a(3) or a person affected by a violation of that law, and

     a “consumer” as that term is defined by 15 U.S.C. § 1681a(c).


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10.   Plaintiff has suffered an injury in fact that is fairly traceable to Defendants’

      collective conduct and that is likely to be redressed by a favorable decision in this

      matter.

11.   Defendant I.Q. Data International, Inc. (hereinafter “Defendant IQDI”) is a collection

      agency operating from a principal office address of 21222 30th Drive SE, Suite 120,

      Bothell, WA 98021, and is a “debt collector” as that term is defined by 15 U.S.C. §

      1692a(6).

12.   Defendant IQDI’s registered agent of process in Minnesota is Corporation Service

      Company at an address of 2345 Rice Street, Suite 230 Roseville, MN 55113.

13.   Defendant IQDI uses interstate commerce and the mails in a business the principal

      purpose of which is the collection of debts.

14.   Defendant IQDI regularly collects or attempts to collect, directly or indirectly, debts

      owed or due or asserted to be owed or due another and is a “debt collector” as that

      term is defined by 15 U.S.C. § 1692a(6).

15.   Defendant IQDI and its employees and agents directly and indirectly participated in

      the unlawful efforts to collect an alleged debt from Plaintiff, as further described in

      this complaint.

16.   Defendant Cameron Webb (hereinafter “Defendant Webb”) is a collection agent

      employed by Defendant IQDI and is a “debt collector” as that term is defined by 15

      U.S.C. § 1692a(6).

17.   Defendant Kim Doe (hereinafter “Defendant Doe”) is a collection agent employed

      by Defendant IQDI and is a “debt collector” as that term is defined by 15 U.S.C. §


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      1692a(6). Defendant Doe’s true name is not known at this time to Plaintiff.

                  PURPOSE OF THE FAIR CREDIT REPORTING ACT

18.   Consumer credit plays a major role in the lives of American consumers entering into

      the American marketplace and the economic system in general. Fair and accurate

      credit reporting acts as a gatekeeper to credit purchases, employment and income,

      basic commercial services, insurance coverage, housing rentals, and a broad range

      of other transactions. Robert J. Hobbs & Stephen Gardner, THE PRACTICE OF

      CONSUMER LAW 39-40 (2nd ed. 2006).

19.   Congress investigated and determined that the banking system is dependent upon

      fair and accurate reporting, that inaccurate credit reports directly impair the

      efficiency of the banking system, and that unfair credit reporting methods

      undermine the public confidence, which is essential to the continued functioning of

      the banking system. 15 U.S.C. § 1681(a)(1).

20.   The FCRA was created to “ensure fair and accurate credit reporting, promote

      efficiency, and protect consumer privacy.” Safeco Ins. Co. of America v. Burr, 551

      U.S. 47, 52 (2007).

21.   The FCRA was proposed in 1968 as an amendment to the original Truth in Lending

      Act. Senator Proxmire (D-WI) announced her intention to create legislation

      addressing the growing frequency of cases in which a consumer “is unjustly denied

      because of faults or incomplete information in a credit report,” and entered an initial

      draft of what would eventually become the FCRA into the Congressional Record.

      Anthony Rodriguez et al., FAIR CREDIT REPORTING 8 (5th ed. 2002) (citing 114


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      Cong. Rec. 24904 (Aug. 2, 1968)) (emphasis added).

22.   Senator Proxmire listed five types of abuses requiring Congressional response,

      including biased or one-sided information and incomplete information. Anthony

      Rodriguez et al., FAIR CREDIT REPORTING 8 (5th ed. 2002) (citing 115 Cong. Rec.

      2411 (Jan. 31, 1969)).

23.   Congress considered inaccurate and misleading information to be the most serious

      problem. Anthony Rodriguez et al., FAIR CREDIT REPORTING 10 (5th ed. 2002).

24.   The FCRA applies to situations in which information relevant to a consumer’s

      “credit worthiness, credit standing, credit capacity, character, general reputation,

      personal characteristics, or mode of living” is collected. Anthony Rodriguez et al.,

      FAIR CREDIT REPORTING 5 (5th ed. 2002) (citing 15 U.S.C. § 1681a(d)).

25.   An inaccurate or misleading credit report can not only significantly and unfairly

      lower a consumer’s credit worthiness, but can also prevent consumers from full

      access to the American marketplace and negatively impact a consumer’s living

      standard and general reputation on the whole if a consumer’s character and mode of

      living is not accurately portrayed. Congress enacted the FCRA to prevent this

      arbitrary and iniquitous result.

26.   Furthermore, in 1996, Congress, in an effort to increase the “accuracy and integrity”

      of information supplied to credit reporting agencies, added 15 U.S.C. § 1681s-2 to

      the FCRA by passing the Consumer Credit Reform Act. The provision,

      “[r]esponsibilities of furnishers of information to consumer reporting agencies,”

      subjected data furnishers, who were not previously covered by the FCRA, to


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      requirements related to accuracy and the handling of consumer disputes. These

      provisions were originally scheduled to sunset in 2003 but were considered

      important enough to Congress to be made permanent in the Fair and Accurate Credit

      Transactions Act of 2003. (Federal Trade Commission Staff: 40 Years of

      Experience with the Fair Credit Reporting Act, pp. 1, 2, 92. Retrieved from the FTC

      website: http://www.ftc.gov/os/2011/07/110720fcrareport.pdf).

                             FACTUAL ALLEGATIONS

27.   Within one year immediately preceding the filing of this complaint, Defendant IQDI

      attempted to collect from Plaintiff a financial obligation that was primarily for

      personal, family or household purposes, and is therefore a “debt” as that term is

      defined by 15 U.S.C. § 1692a(5), by attempting to collect this debt from Plaintiff in

      the State of Minnesota.

28.   Sometime on or before December 2020, Plaintiff incurred an alleged debt to

      Campbell Properties in Minnesota (“debt”) which was an approximate $1,106

      charge for alleged unpaid rent and/or damages after Plaintiff moved out of this

      apartment.

29.   Plaintiff disputes this alleged debt, the final bill on this account, and any remaining

      balance, and is represented by the undersigned counsel both with respect to this debt

      and to the claims made herein.

30.   Sometime thereafter, the debt was consigned, placed or otherwise transferred to

      Defendant IQDI for collection from Plaintiff.

        Defendant IQDI’s Barrage of Illegal Collection Calls on May 3, 2022


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31.   Sometime on or around May 3, 2022, at approximately 11:47 a.m., Plaintiff received

      a call from Defendant IQDI on her cell phone from phone number (320) 247-6905,

      but she missed the call because it had come in from an unknown number.

32.   On May 3, 2022 at approximately 1:42 p.m., Plaintiff’s Mom received a phone call

      on her cell phone from the same phone number (320) 247-6905, Defendant IQDI,

      but also missed the call and/or did not answer it.

33.   Later, at approximately 1:46 p.m., Plaintiff’s sister received a phone call on her cell

      phone from the Defendant IQDI via the same phone number (320) 247-6905, but

      she also did not answer.

34.   Defendant IQDI then called again at about 1:49 p.m. to Plaintiff’s mom on her cell

      phone from the same number but still did not answer.

35.   Defendant IQDI then called again at about 1:49 p.m. to Plaintiff’s sister on her cell

      phone from the same number but still did not answer.

                 Collection Call with Defendant Webb on May 3, 2022

36.   Again, on or about May 3, 2022 at approximately 2:30-3:00 p.m., Plaintiff received

      another phone call at work from Defendant IQDI from (320) 223-6905.

37.   Plaintiff answered the phone call assuming it was for her job and immediately got

      bombarded with questions from Defendant IQDI’s collection employee to confirm

      her name and then her date of birth.

38.   When Plaintiff asked what this was for, the individual introduced himself as

      “Cameron Webb” and he was from Defendant IQDI trying to collect a debt on behalf

      of Hillcrest Apartments LLP.


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39.   Defendant Webb told Plaintiff the total of the alleged debt that was owed, who it

      was owed to, and how it needed to be paid that day.

40.   Plaintiff immediately told Defendant Webb that she could not take these kinds of

      personal phone calls at work, and that he could instead call her cell phone if he

      wanted to talk.

41.   Defendant Webb refused to discontinue the collection call at that point and instead

      kept trying to ask Plaintiff more questions.

42.   Defendant Webb told Plaintiff that Defendant IQDI had tried to contact Plaintiff in

      writing and over the phone and that Plaintiff had not responded.

43.   Defendant Webb also falsely told Plaintiff that if she did not pay this debt today,

      then it was going to get reported to the credit bureaus.

44.   This was a false statement in an attempt to collect a debt because the debt had ready

      been reported to the credit bureaus, Experian, Trans Union, and Experian by

      Defendant IQDI.

45.   Plaintiff told Defendant Webb that she had never received anything from Defendant

      IQDI in the mail and that she was not aware of any personal calls from Defendant

      IQDI.

46.   Plaintiff told Defendant Webb again however that Plaintiff could not deal with this

      matter on her work phone and to call her cell phone if Defendant Webb wanted to

      speak further about it.

47.   Defendant Webb then asked Plaintiff when her next break was for a good time to

      call and she said 3:30 p.m. that day.


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48.   Defendant Webb then then continued to ask questions regarding Plaintiff’s current

      residential address and a good number at which to reach her.

49.   Plaintiff told Defendant Webb her address and her phone number and told him again

      that the call needed to end because she was on her work phone.

50.   Instead of discontinuing the conversation, Defendant Webb rudely barged ahead

      and started to tell Plaintiff that he needed to get details so he could transfer her to

      someone else who can put her account on hold from being sent to the credit agencies.

51.   Defendant Webb then put Plaintiff on hold and Plaintiff thereafter hung up the

      phone.

52.   After this conversation, Plaintiff spoke with her mother about how Defendant Webb

      had contacted her at work, only to discover that her mother and sister had received

      calls from the same number that day.

53.   Plaintiff was very upset that Defendant IQDI had called her family members

      repeatedly and barraged them with collection calls for her debt.

54.   The above-described collection communications and conduct from Defendant IQDI

      toward Plaintiff represent numerous and multiple violations of the FDCPA,

      including but not limited to 15 U.S.C. §§ 1692c(a)(1), 1692c(a)(3), 1692c(b),

      1692d, 1692d(2), 1692d(5), 1692e, 1692e(2), 1692e(5), 1692e(7), 1692e(8),

      1692e(10), 1692e(11), 1692e(16), 1692f, and 1692f(1), amongst others, as well as

      violations of Minnesota law.

           Plaintiff’s Follow-Up Call with Defendant IQDI on May 3, 2022




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55.   At approximately 3:26 p.m. on or about May 3, 2022, Plaintiff tried to call back to

      the same phone number she had received the earlier calls from, (320) 247-6905 back

      on her cell phone and tried to explain some of what happened to Defendant IQDI’s

      debt collection who answered the phone.

56.   The debt collector told Plaintiff that he had to transfer Plaintiff to the agent that had

      her “case.”

57.   After a few minutes of waiting on hold, Plaintiff hung up the phone and went back

      into work.

                Defendant IQDI Calls Plaintiff Again on May 3, 2022

58.   At approximately 3:32 p.m. on or about May 3, 2022, Plaintiff then received another

      collection call on her cell phone from Defendant IQDI’s phone number (320) 247-

      6905.

59.   This collection call came directly from the Defendant IQDI’s same debt collector,

      Defendant Webb.

60.   Defendant Webb again explained that that he was trying to collect a debt for

      Hillcrest Apartments LLP.

61.   Plaintiff disputed this debt and tried to explain to Defendant Webb what had

      happened about this debt, but Defendant Webb did not want to listen to any of it.

62.   Plaintiff also told Defendant Webb that she could not afford to pay a $1,200 debt

      because she does not have that money just laying around.




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63.   Defendant IQDI’s debt collector Defendant Webb then proceeded to ask Plaintiff

      how much money she made at her job, and Plaintiff told him how she did not see

      how that was relevant.

64.   Defendant Webb then asked Plaintiff if she owned or rented a home and, again,

      Plaintiff told him how she did not see how that was relevant.

65.   Defendant Webb asked Plaintiff how much her monthly housing payment was and,

      again, Plaintiff told Defendant Webb how she did not see how that fact was relevant.

66.   At this point, Defendant Webb was getting frustrated and he told Plaintiff that if she

      provided him with her email address, he would send Plaintiff the bill right

      immediately, and she can pay it in full, otherwise it would go on her credit reports.

67.   This was a false and harassing statement in an attempt to collect a debt because

      Defendant IQDI had already listed this disputed debt on Plaintiff’s credit reports.

68.   Plaintiff told Defendant IQDI she was not going to do that because she did not have

      the money to pay this alleged debt.

69.   Defendant Webb rudely persisted and falsely told Plaintiff that she needed to answer

      his questions in order to get to someone else at Defendant IQDI who could get her

      account on hold so that it would not get credit reported.

70.   Defendant Webb told Plaintiff that if Plaintiff did not want to answer the questions,

      then she had to pay the account in full that day.

71.   Plaintiff told Defendant IQDI she was not going to give him her email and

      questioned how any of his questions were relevant.




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72.     Defendant Webb continually interrupted Plaintiff and talked over Plaintiff, falsely

        and abusively telling her that she had choose one of his options.

73.     Defendant Webb also continuously gaslit1 Plaintiff during this harassing and

        abusive debt collection communication and kept telling her to stop raising her voice

        when Plaintiff was not yelling or being loud, but only trying to finish her sentence

        before being interrupted again by Defendant Webb.

74.     Defendant Webb again threatened Plaintiff’s credit standing with this disputed and

        alleged debt and again tried to interrogate Plaintiff about her income.

75.     When Plaintiff resisted his abusive questions, Defendant Webb became very

        frustrated and started to speak over Plaintiff every time she tried to talk.

76.     Plaintiff ultimately ended the call which lasted approximately 20 minutes.

77.     Plaintiff was left shaken, scared, and very upset by the manner in which she was

        treated by Defendant Webb and by his abusive interrogation of her.

78.     The above-described collection communications and conduct from Defendant IQDI

        toward Plaintiff represent numerous and multiple violations of the FDCPA,

        including but not limited to 15 U.S.C. §§ 1692c(a)(1), 1692c(a)(3), 1692c(b),

        1692d, 1692d(2), 1692d(5), 1692e, 1692e(2), 1692e(5), 1692e(7), 1692e(8),

        1692e(10), 1692e(11), 1692e(16), 1692f, and 1692f(1), amongst others, as well as

        violations of Minnesota law.



1
  Gaslight: to psychologically manipulate (a person) usually over an extended period of time so that the victim
questions the validity of their own thoughts, perception of reality, or memories and experiences confusion, loss of
confidence and self-esteem, and doubts concerning their own emotional or mental stability : to subject (someone) to
gaslighting. https://www.merriam-webster.com/dictionary/gaslight#h2 (last accessed July 29, 2022).



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        Third Round of Abusive Collection Communications on May 3, 2022

79.   On the same day at approximately 3:40 p.m. Plaintiff received another call on her

      cell phone from (320) 247-6905 from Defendant Webb.

80.   Again, the person introduced himself as Defendant Cameron Webb from Defendant

      IQDI.

81.   Plaintiff immediately told Defendant Webb that she wanted a debt validation letter

      sent to her before he asked her any more questions.

82.   Defendant Webb ignored this request and just started to ask her again about her

      income, housing expenses, and other debt such as student loans.

83.   Plaintiff continued to tell him how she did not see any of this information as being

      relevant.

84.   Plaintiff repeated to Defendant Webb that she wanted to receive a validation letter

      so that she could know this is an actual debt and not a scam.

85.   Defendant Webb then told Plaintiff that this was a recorded line for a reason and

      that it would not be recorded if it was a scam.

86.   Defendant IQDI also asked how he would know things like her full name and date

      of birth if it was a scam.

87.   Plaintiff then said that it still did not prove anything and that she wanted the debt

      validation letter.

88.   Defendant IQDI was getting extra annoyed with Plaintiff and started to raise his

      voice on the phone when asking her questions again.




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89.   Plaintiff then said that she wanted to speak with someone else three times before

      Defendant IQDI finally said okay and abruptly put Plaintiff on hold.

90.   The above-described collection communications and conduct from Defendant IQDI

      toward Plaintiff represent numerous and multiple violations of the FDCPA,

      including but not limited to 15 U.S.C. §§ 1692c(a)(1), 1692c(a)(3), 1692c(b),

      1692d, 1692d(2), 1692d(5), 1692e, 1692e(2), 1692e(5), 1692e(7), 1692e(8),

      1692e(10), 1692e(11), 1692e(16), 1692f, and 1692f(1), amongst others, as well as

      violations of Minnesota law.

             Conversation with Defendant IQDI’s Debt Collector “Kim”

91.   As a continuation of this same collection call on May 3, 2022, and after holding for

      a period of time, Plaintiff then spoke with one of Defendant IQDI’s debt collectors,

      a female who identified herself as “Kim [Doe].”

92.   Defendant Doe did not provide a last name, but Plaintiff again tried to explain how

      she disputed this alleged debt with the apartment complex, the whole situation with

      the apartment and how she got to this place.

93.   Defendant Doe was equally uninterested in listening to anything that Plaintiff said.

94.   Plaintiff also told Defendant Doe that she wanted this debt validation letter and

      Defendant Doe likewise ignored the request.

95.   In response, Defendant Doe told Plaintiff that it was ridiculous that Plaintiff had

      only attempted to contact the apartment complex four times over two years

      regarding this alleged debt.




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96.    Defendant Doe then also falsely told Plaintiff that the debt needed to be paid “today”

       or it was going to go on Plaintiff’s credit reports, despite the fact that this debt was

       already reported by Defendant IQDI to all three major credit reporting agencies.

97.    Plaintiff repeatedly told Defendant Doe that she could not afford this disputed

       alleged debt.

98.    Defendant IQDI’s debt collector Defendant Doe then again started asking Plaintiff

       the same questions about her monthly expenses that Defendant Webb had asked.

99.    Defendant Doe first asked about her monthly income and Plaintiff again told her

       that she did not see this information as relevant.

100.   Defendant Doe immediately reacted with anger toward Plaintiff.

101.   Defendant Doe falsely stated that if Plaintiff did not answer these questions

       immediately, that Plaintiff would have to pay all this alleged debt, or it would

       immediately go on her credit.

102.   Defendant Doe again asked what Plaintiff’s monthly income was, and Plaintiff told

       Defendant Doe that she did not know, maybe $1,000.

103.   Defendant Doe then asked how much that is an hour and Plaintiff said she did not

       know.

104.   Defendant Doe was getting more and more angry at Plaintiff during the course of

       this collection communication.

105.   Defendant Doe then asked how long Plaintiff had been at her current employer

       company and Plaintiff told her a couple of years.




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106.   Defendant Doe said that it did not make sense how Plaintiff had been at that

       company for that long and only made that much and again asked how much Plaintiff

       makes hourly.

107.   Plaintiff again told Defendant Doe that she did not know.

108.   Plaintiff tried to explain to an angry Defendant Doe that when she started as a

       temporary employee, she made less than she does now, but that Plaintiff really did

       not make a lot.

109.   Defendant Doe seemed to be getting very annoyed with Plaintiff and then moved

       on to talking about Plaintiff’s housing.

110.   Defendant Doe asked if Plaintiff owned or rented somewhere and Plaintiff explained

       that she rented.

111.   Defendant Doe then asked whether Plaintiff lived alone or with someone else and

       Plaintiff said that she lived alone.

112.   Throughout this threatening and unnecessary interrogation, Plaintiff felt scared,

       humiliated, and intimidated by the tone of voice from both Defendant Doe and

       Defendant Webb and the false sense of urgency regarding a debt that Plaintiff

       disputed and did not feel she owed.

113.   Defendant Doe then she asked for the amount of Plaintiff’s monthly rent and

       Plaintiff said she did not know exactly, but that it was approximately $900.

114.   Again, Defendant Doe engaged Plaintiff in gaslighting and proceeded to tell her that

       it did not make sense that Plaintiff made so little money when she had an expensive

       apartment.


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115.   Plaintiff then told Defendant Doe that she made possibly a little more than around

       $1,500 a month.

116.   This answer then made Defendant Doe even more angry and she told the Plaintiff

       that she needs to take this matter seriously and answer her questions.

117.   Defendant Doe also kept asking whether or not anyone helps Plaintiff with any of

       her bills and Plaintiff said no.

118.   Defendant Doe then proceeded to tell Plaintiff that it looks like Plaintiff’s mom co-

       signed the lease for her.

119.   Plaintiff then acknowledged this statement but told Defendant Doe that her mother

       had no part in any of this matter and that Plaintiff wanted to make that fact clear.

120.   At this point, Defendant Doe was also starting to raise her voice and Plaintiff again

       asked her to stop injecting her mother into this alleged debt.

121.   Defendant Doe then told Plaintiff that Plaintiff can take out a loan to pay the debt

       off if she cannot afford to pay it right then, and that Defendant Doe would look up

       loans available for this purpose for Plaintiff.

122.   Plaintiff told Defendant Doe that she was not going to take out a loan to pay this

       disputed alleged debt.

123.   Defendant Doe then responded that since Plaintiff did not want to answer her

       questions, that taking out a loan was Plaintiff’s only option.

124.   In an effort to resolve this disputed matter and out of desperation and to get the

       Defendants’ collection harassment to stop, Plaintiff then offered to make a payment

       plan with Defendant Doe for this alleged disputed debt.


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125.   Defendant Doe immediately said “No” and that she would not finance Plaintiff’s

       debt and that instead Plaintiff could take out a loan.

126.   Thereafter, Defendant Doe then put Plaintiff on hold in an apparent attempt to

       arrange a loan for Plaintiff.

127.   Plaintiff thereafter ended the call because she had no interest in taking out a loan to

       pay this disputed debt or to pay it.

128.   These collection questions from Defendant Webb and Defendant Doe were

       invasive, abusive, unnecessary, and harassing to Plaintiff.

129.   Defendant Doe and Defendant Webb had both treated Plaintiff like a child and

       scolded her when she did not comply with their immediate demands for private

       financial information for which they had absolutely no right to have.

130.   Defendant Doe’s suggestion that she would arrange a loan for Plaintiff to pay this

       account off with a loan was an illegal collection tactic and a threat to share Plaintiff’s

       personal financial information with third parties.

131.   The above-described collection communications and conduct from Defendant IQDI

       toward Plaintiff represent numerous and multiple violations of the FDCPA,

       including but not limited to 15 U.S.C. §§ 1692c(a)(1), 1692c(a)(3), 1692c(b),

       1692d, 1692d(2), 1692d(5), 1692e, 1692e(2), 1692e(5), 1692e(7), 1692e(8),

       1692e(10), 1692e(11), 1692e(16), 1692f, and 1692f(1), amongst others, as well as

       violations of Minnesota law.




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 Plaintiff Disputed the Alleged Debt in Writing with Defendant IQDI on May 9, 2022

132.   On May 9, 2022, Plaintiff got the debt collection letter from Defendant IQDI dated

       April 28, 2022, that had been sent to her Wright County permanent address.

133.   Defendant IQDI’s collection letter said how much the debt was, plus a little over

       $110 in interest to the company.

134.   That same day, Plaintiff sent out a letter to dispute the debt using the tear off portion

       of the bottom of a collection letter mailed out from Defendant IQDI on April 28,

       2022.

135.   Plaintiff checked the box on the form that said, “I want to dispute this debt

       because...,” and then checked “this is not her debt” and “other.”

136.   Plaintiff also checked the box “I want you to send me the name and address of the

       original creditor”.

137.   Plaintiff wrote a short note saying that she wants to receive a debt validation letter

       along with the name and address of the original creditor.

138.   Plaintiff also said that she had not rented through Hillcrest Apartments LLP, because

       her lease was with Campbell Properties.

139.   Plaintiff also noted to only contact her in writing if they needed to contact her to not

       contact her friends, family or place of work again.

                        Illegal Collection Communications Letter

140.   Despite having repeatedly disputed this debt, in writing and otherwise, and telling

       Defendant IQDI that she refused to pay it, on or about June 4, 2022, at




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       approximately 10:53 a.m., Plaintiff received another collection phone call from the

       number (320) 223-6905 that she did not answer.

141.   The above-described collection communications and conduct from Defendant IQDI

       toward Plaintiff represent numerous and multiple violations of the FDCPA,

       including but not limited to 15 U.S.C. §§ 1692c(a)(1), 1692c(a)(3), 1692c(b),

       1692d, 1692e, 1692e(2), 1692e(5), 1692e(7), 1692e(8), 1692e(10), 1692e(11),

       1692f, and 1692f(1), amongst others, as well as violations of Minnesota law.

                    Illegal Collection Communications on June 24, 2022

142.   On June 24, 2022, Plaintiff received another letter in the mail from Defendant IQDI

       at her current address dated June 21, 2022.

143.   This letter was to inform Plaintiff that Defendant IQDI had received her letter of

       dispute but since it is was the same as her dispute on file that they are not taking any

       action.

144.   Despite having disputed this debt in writing directly to Defendant IQDI, Defendant

       IQDI nevertheless again violated the FDCPA and attempted to collect the debt from

       Plaintiff.

145.   The above-described collection communications and conduct from Defendant IQDI

       toward Plaintiff represent numerous and multiple violations of the FDCPA,

       including but not limited to 15 U.S.C. §§ 1692c(a)(1), 1692c(c), 1692d, 1692d(2),

       1692d(5), 1692e, 1692e(2), 1692e(5), 1692e(7), 1692e(8), 1692e(10), 1692e(11),

       1692e(16), 1692f, and 1692f(1), amongst others, as well as violations of Minnesota

       law.


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           Plaintiff’s Communications to Defendant IQDI on June 28, 2022

146.   On June 28, 2022, Plaintiff sent another dispute letter to Defendant IQDI regarding

       the June 21, 2022 collection letter from Defendant IQDI.

147.   Plaintiff informed Defendant IQDI that she had only ever sent them one dispute

       before and had never heard a response.

148.   Plaintiff reminded Defendant IQDI why she disputed and that she also asked for the

       name and address of the original creditor and a validation of debt letter and never

       received anything.

149.   Plaintiff also said that if this could not be provided, she wanted this item taken off

       her credit from all three bureaus.

Defendant IQDI Falsely Credit Reports the Account and Adds Illegal Interest Charges

150.   Defendant IQDI illegally added interest to this debt and falsely reported interest as

       due and owing on this account on Plaintiff’s consumer credit reports, despite the

       fact that Plaintiff has vigorously disputed the basis and amount of this debt making

       it an unliquidated amount.

151.   Plaintiff disagreed with the Defendant IQDI’s assertion about interest on this

       disputed debt, never agreed to pay this interest or the principal amount and refused

       to pay this alleged debt.

152.   In July 2022, Plaintiff reviewed her consumer credit reports and noted an entry from

       Defendant IQDI on her report that indicated that this disputed $1,106 apartment

       rental fee debt with Defendant IQDI had now inexplicably increased to $1,229.




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153.   Defendant IQDI repeatedly illegally added interest and/or late fees on this alleged

       debt, increasing the debt from its original amount by at least $123.

154.   The FDCPA prohibits to addition of any amount over and above the principal

       amount of the debt unless that additional amount is permitted by the contract

       underlying the debt or otherwise permitted by law.

155.   Plaintiff never agreed to pay interest in any amount on this alleged debt because she

       did not agree that she even owed the alleged debt for the apartment rental and

       disputed it. See Tate v. Ballard, 243 Minn. 353, 360, 68 N.W.2d 261, 266 (1954)

       (“Liability for interest is purely contractual, and a person is not chargeable therewith

       unless he has agreed to its imposition. County of Redwood v. Winona & St. Peter

       Land Co., 40 Minn. 512, 41 N.W. 465, 42 N.W. 473.”)

156.   There was no agreement between Plaintiff and Defendant IQDI underlying this debt

       which permitted these collection fees by Defendant IQDI and these fees are not

       otherwise permitted by law.

157.   Defendant IQDI’s demands from Plaintiff for payment for amounts not due and

       owing on this obligation was fraud, because it intended that Plaintiff would rely on

       its representations as to the amount of additional interest on the obligation, and

       Plaintiff in fact relied on those material misrepresentations to Plaintiff’s detriment.

158.   It was a false and deceptive debt collection practice for Defendant IQDI to

       misrepresent the amount due and owing by Plaintiff for this debt.




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159.   Defendant IQDI’s addition of at least $123 in late charges to Plaintiff’s alleged debt

       to Defendant IQDI was also a violation of numerous and multiple provisions of the

       FDCPA with respect to Defendant IQDI.

160.   The above-described communications and conduct from Defendant IQDI toward

       Plaintiff represent numerous and multiple violations of the FDCPA, including but

       not limited to 15 U.S.C. §§ 1692d, 1692e, 1692e(2), 1692e(5), 1692e(10),

       1692e(11), 1692f, and 1692f(1), amongst others, as well as violations of Minnesota

       law.

                          Plaintiff has Suffered Concrete Harm

161.   The above-described collection conduct by Defendant IQDI in its efforts to collect

       this alleged debt from Plaintiff were oppressive, deceptive, misleading, unfair and

       illegal communications in an attempt to collect this alleged debt, all done in

       violation of numerous and multiple provisions of the FDCPA.

162.   These collection actions taken by Defendant IQDI, and the collection employees

       employed by it, were made in violation of multiple provisions of the FDCPA,

       including but not limited to all of the provisions of those laws cited herein.

163.   These violations by Defendant IQDI were knowing, willful, negligent and/or

       intentional, and it did not maintain procedures reasonably adapted to avoid any such

       violations.

164.   Defendant IQDI’s collection efforts with respect to this alleged debt from Plaintiff

       caused Plaintiff to suffer concrete and particularized harm because the FDCPA

       provides Plaintiff with the legally protected right to be treated fairly and truthfully


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       with respect to any action for the collection of any consumer debt.

165.   Defendant IQDI’s deceptive, misleading and unfair representations with respect to

       its collection effort were material misrepresentations that affected and frustrated

       Plaintiff’s ability to intelligently respond to Defendant IQDI’s collection efforts

       because Plaintiff could not adequately respond to the Defendant IQDI’s demand for

       payment of this debt.

166.   By demanding this $123.00 both in writing and by telephone, Defendant IQDI

       misrepresented the amount of the debt and the amount owed by Plaintiff in violation

       of the FDCPA.

167.   As a licensed debt collector in Minnesota, Defendant IQDI knew or should have

       known that it had no right to add impermissible collection fees under the FDCPA or

       fees that were not provided under the contract or otherwise permitted by law. See

       Kojetin v. C U Recovery, Inc., 212 F.3d 1318 (8th Cir. 2000).

168.   On June 29, 2022, the Consumer Financial Protection Board again weighed in on

       the illegality of add-on collection fees like those sought by Defendant IQDI from

       Plaintiff:

              Section 808(1) of the FDCPA prohibits debt collectors, in relevant
              part, from “collect[ing]... any amount (including any interest, fee,
              charge, or expense incidental to the principal obligation).” As the
              Supreme Court has explained, the “word ‘any’ has an expansive
              meaning, that is, ‘one or some indiscriminately of whatever kind.’” In
              addition, under its ordinary meaning, the term “including” typically
              indicates a partial list. The CFPB interprets the words “any” and
              “including” as used in section 808(1) consistent with their ordinary
              meanings. Accordingly, the CFPB clarifies that FDCPA section
              808(1) and Regulation F, 12 CFR 1006.22(b), apply to any amount
              collected by a debt collector in connection with the collection of a


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                 debt, including, but not limited to, any interest, fee, charge, or expense
                 that is incidental to the principal obligation.
                 …
                 The CFPB therefore interprets FDCPA section 808(1) to prohibit a
                 debt collector from collecting any amount unless such amount either
                 is expressly authorized by the agreement creating the debt (and is not
                 prohibited by law) or is expressly permitted by law. That is, the CFPB
                 interprets FDCPA section 808(1) to permit collection of an amount
                 only if: (1) the agreement creating the debt expressly permits the
                 charge and some law does not prohibit it; or (2) some law expressly
                 permits the charge, even if the agreement creating the debt is silent.

         https://files.consumerfinance.gov/f/documents/cfpb_convenience-fees_advisory-

         opinion_2022-06.pdf (footnotes omitted, italics in original) last accessed July 26,

         2022.

169.     The $123 incidental fees which Defendant IQDI demanded from Plaintiff were not

         permitted by law and therefore were illegal add-on fees prohibited under the

         FDCPA.

170.     The above-described communications and conduct from Defendant IQDI to

         Plaintiff represent numerous and multiple violations of the FDCPA, including but

         not limited to 15 U.S.C. §§ 1692e, 1692e(2), 1692e(5), 1692e(9), 1692e(10), 1692f,

         and 1692f(1), amongst others.

       Defendant IQDI’s Violations of the Regulation F “Debt Parking” Prohibitions

171.     Under its rulemaking authority, the Consumer Financial Protection Bureau issued

         Regulation F, effective November 30, 2021, which further constrains Defendant

         IQDI’s lawful debt collection conduct and further expands Plaintiff’s rights under

         the FDCPA (“Reg. F”). 12 C.F.R. § 1006, et seq.




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              (a) Authority. This part, known as Regulation F, is issued by the
              Bureau of Consumer Financial Protection pursuant to sections 814(d)
              and 817 of the Fair Debt Collection Practices Act (FDCPA or Act),
              15 U.S.C. 1692l(d), 1692o; title X of the Dodd–Frank Wall Street
              Reform and Consumer Protection Act (Dodd–Frank Act), 12 U.S.C.
              5481 et seq.; and paragraph (b)(1) of section 104 of the Electronic
              Signatures in Global and National Commerce Act (E–SIGN Act), 15
              U.S.C. 7004.

              (b) Purpose. This part carries out the purposes of the FDCPA,
              which include eliminating abusive debt collection practices by
              debt collectors, ensuring that debt collectors who refrain from
              using abusive debt collection practices are not competitively
              disadvantaged, and promoting consistent State action to protect
              consumers against debt collection abuses. This part also
              prescribes requirements to ensure that certain features of debt
              collection are disclosed fully, accurately, and effectively to
              consumers in a manner that permits consumers to understand the
              costs, benefits, and risks associated with debt collection, in light
              of the facts and circumstances. Finally, this part imposes record
              retention requirements to enable the Bureau to administer and carry
              out the purposes of the FDCPA, the Dodd–Frank Act, and this part,
              as well as to prevent evasions thereof. The record retention
              requirements also will facilitate supervision of debt collectors and the
              assessment and detection of risks to consumers.

       12 C.F.R. § 1006.1 (emphasis added).

172.   A violation of Reg. F with respect to a consumer is a violation of the FDCPA.

173.   Section 12 C.F.R. 1006.30(a)(1) of Reg. F prohibits a debt collector from furnishing

       information to a consumer reporting agency about a debt before taking specific

       actions to contact the consumer about that debt.

174.   A debt collector can satisfy this requirement by: (i) speaking to the consumer about

       the debt in person or by telephone; or (ii) placing a letter in the mail or sending an

       electronic message to the consumer about the debt and waiting a reasonable period

       of time to receive a notice of undeliverability, provided certain other conditions are


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       satisfied. A validation notice is one type of letter or electronic communication debt

       collectors can use to satisfy § 1006.30(a)(1)(ii).

175.   Defendant IQDI violated Reg. F when it credit reported this disputed account on

       Plaintiff’s all three of her consumer credit reports before ever communicating with

       Plaintiff. 12 C.F.R. 1006.30(a)(1).

176.   Defendant IQDI did not speak with Plaintiff, send Plaintiff a letter, or send her an

       electronic message before furnishing this information about this disputed account

       to Experian, Trans Union and Equifax.

177.   The failure to communicate first with a consumer before furnisher adverse credit

       information is an unfair debt collection practice in violation of the FDCPA. 12

       C.F.R. 1006.30(a)(1); 15 U.S.C. § 1692e(8).

178.   The above-described communications and conduct from Defendant IQDI to

       Plaintiff represent numerous and multiple violations of the FDCPA, including but

       not limited to 15 U.S.C. §§ 1692d, 1692e, 1692e(2), 1692e(5), 1692e(7), 1692e(8),

       1692e(9), 1692e(10), 1692f, and 1692f(1), amongst others.

            FCRA Violations by Defendant IQDI on Experian Credit Report

179.   Sometime in or around June 2022, Plaintiff discovered that Defendant IQDI had

       added a collection tradeline on her Experian credit report for this alleged debt on or

       about April 27, 2022.

180.   In or around May 2022, Plaintiff disputed this account directly with Experian, after

       Defendant IQDI had first furnished it to this consumer reporting agency, as a

       prerequisite to preserving Plaintiff’s rights under the FCRA. 15 U.S.C. § 1681s-


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       2(b).

181.   Despite such written dispute under the FCRA from Plaintiff, Defendant IQDI has

       not removed the negative tradeline related to this account from Plaintiff’s credit

       report with Experian and instead confirmed it as accurate and continued to illegally

       add interest to the disputed and unliquidated balance.

182.   In or around May 2022, Plaintiff disputed the false and fraudulent account

       information with Experian credit reporting agency pursuant to 15 U.S.C. § 1681i,

       by doing a consumer dispute of the item directly with Experian.

183.   Thereafter, upon good faith information and belief, Experian forwarded Plaintiff’s

       dispute information to Defendant IQDI for investigation as required by 15 U.S.C. §

       1681(a)(2).

184.   Upon good faith information and belief, Experian sent an automated consumer dispute

       verification (“ACDV”) to Defendant IQDI regarding the disputed account on this

       alleged debt.

185.   In or around June 2022, Plaintiff received information back from Experian

       indicating that it had received Plaintiff’s written dispute of this fraudulent account

       but confirmed it as accurate with Defendant IQDI.

186.   According to Experian, Defendant IQDI verified that the disputed account belonged

       to Plaintiff and was accurately reporting on her credit report, in violation of 15

       U.S.C. § 1681s-2(b).




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187.   Defendant IQDI’s credit reporting on Experian’s consumer report on Plaintiff

       adversely and/or negatively affected Plaintiff’s credit profile when Defendant IQDI

       was aware that Plaintiff’s dispute was legitimate.

188.   Defendant IQDI violated 15 U.S.C. §1681s-2(b) when it received the notification of

       dispute from Experian concerning the Plaintiff’s disputed account and thereafter

       failed to conduct a reasonable investigation and failed to delete the fraudulent

       account.

189.   Plaintiff obtained and reviewed her consumer credit report from Experian again on

       July 13, 2022.

190.   Specifically, Plaintiff’s Experian credit report dated July 13, 2022, still contained

       the Defendant IQDI’s fraudulent account and still listed this collection account

       tradeline against Plaintiff.

191.   The account tradeline on Plaintiff’s Experian credit report also increased the

       claimed amount due and owing to $1,229 and indicated that Defendant IQDI had

       updated this information as of July 9, 2022, despite the fact that she had also

       disputed it directly with Defendant IQDI in addition to the dispute to Experian.

192.   As a result of Defendant IQDI’s inaccurate and malicious credit reporting, Plaintiff

       has suffered reduced credit, emotional distress, embarrassment, frustration,

       distraction from work, loss of sleep, and anxiety constituting actual damages

       pursuant to 15 U.S.C. § 1681o(a)(1) and § 1681n.

193.   Defendant IQDI’s false and negative credit reporting on her Experian report caused

       Plaintiff’s credit score to go down during this time frame.


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194.   Plaintiff takes great care in working and guarding her credit report/score and is now

       embarrassed and humiliated that her score is not as good as it should be without the

       Defendant IQDI’s adverse account on Experian’s credit report.

195.   Defendant IQDI’s conduct has caused Plaintiff to delay refinancing opportunities to

       obtain the best possible rates and/or obtaining other credit until the Defendant

       IQDI’s adverse and harmful reporting is removed from her credit profile with

       Experian.

196.   Defendant IQDI failed to conduct a reasonable reinvestigation, or follow the

       procedures required by FCRA, 15 U.S.C. § 1681s-2(b), in regard to Plaintiff’s

       dispute.

197.   Defendant IQDI negligently failed to comply with the requirements of the FCRA.

198.   As a result of Defendant IQDI’s failure to comply with the requirements of the

       FCRA, Plaintiff has suffered and continues to suffer, actual damages, including

       damage to credit worthiness, lost opportunity to receive credit, damage to

       reputation, emotional distress and interference with Plaintiff’s normal and usual

       activities for which Plaintiff seeks damages in an amount to be determined by the

       jury, as well as attorney fees under 15 U.S.C. § 1681o(a).

199.   Defendant IQDI willfully failed to comply with the requirements of the FCRA.

200.   As a result of Defendant IQDI’s failure to comply with the requirements of the

       FCRA, Plaintiff has suffered and continues to suffer, actual damages, including

       damage to credit worthiness, lost opportunity to receive credit, damage to

       reputation, emotional distress and interference with Plaintiff’s normal and usual


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       activities for which Plaintiff seeks damages in an amount to be determined by the

       jury. Plaintiff also seeks punitive damages in an amount to be determined by the

       jury, as well as attorney fees under 15 U.S.C. § 1681n(a).

201.   Plaintiff is entitled to attorney’s fees and costs from Defendant IQDI pursuant to 15

       U.S.C. § 1681o(a)(2) and § 1681n.

          FCRA Violations by Defendant IQDI on Trans Union Credit Report

202.   Sometime in or around June 2022, Plaintiff discovered that Defendant IQDI had

       added a collection tradeline on her Trans Union credit report for this alleged debt

       on or about April 27, 2022.

203.   In or around May 2022, Plaintiff disputed this account directly with Trans Union,

       after Defendant IQDI had first furnished it to this consumer reporting agency, as a

       prerequisite to preserving Plaintiff’s rights under the FCRA. 15 U.S.C. § 1681s-

       2(b).

204.   Despite such written dispute under the FCRA from Plaintiff, Defendant IQDI has

       not removed the negative tradeline related to this account from Plaintiff’s credit

       report with Trans Union and instead confirmed it as accurate and continued to

       illegally add interest to the disputed and unliquidated balance.

205.   In or around May 2022, Plaintiff disputed the false and fraudulent account

       information with Trans Union credit reporting agency pursuant to 15 U.S.C. §

       1681i, by doing a consumer dispute of the item directly with Trans Union.




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206.   Thereafter, upon good faith information and belief, Trans Union forwarded Plaintiff’s

       dispute information to Defendant IQDI for investigation as required by 15 U.S.C. §

       1681(a)(2).

207.   Upon good faith information and belief, Trans Union sent an automated consumer

       dispute verification (“ACDV”) to Defendant IQDI regarding the disputed account on

       this alleged debt.

208.   In or around June 2022, Plaintiff received information back from Trans Union

       indicating that it had received Plaintiff’s written dispute of this fraudulent account

       but confirmed it as accurate with Defendant IQDI.

209.   According to Trans Union, Defendant IQDI verified that the disputed account

       belonged to Plaintiff and was accurately reporting on her credit report, in violation

       of 15 U.S.C. § 1681s-2(b).

210.   Defendant IQDI’s credit reporting on Trans Union’s consumer report on Plaintiff

       adversely and/or negatively affected Plaintiff’s credit profile when Defendant IQDI

       was aware that Plaintiff’s dispute was legitimate.

211.   Defendant IQDI violated 15 U.S.C. §1681s-2(b) when it received the notification of

       dispute from Trans Union concerning the Plaintiff’s disputed account and thereafter

       failed to conduct a reasonable investigation and failed to delete the fraudulent

       account.

212.   Plaintiff obtained and reviewed her consumer credit report from Trans Union again

       on July 13, 2022.

213.   Specifically, Plaintiff’s Trans Union credit report dated July 13, 2022, still


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       contained the Defendant IQDI’s fraudulent account and still listed this collection

       account tradeline against Plaintiff.

214.   The account tradeline on Plaintiff’s Trans Union credit report also increased the

       claimed amount due and owing to $1,229 and indicated that Defendant IQDI had

       updated this information as of July 9, 2022, despite the fact that she had also

       disputed it directly with Defendant IQDI in addition to the dispute to Trans Union.

215.   As a result of Defendant IQDI’s inaccurate and malicious credit reporting, Plaintiff

       has suffered reduced credit, emotional distress, embarrassment, frustration,

       distraction from work, loss of sleep, and anxiety constituting actual damages

       pursuant to 15 U.S.C. § 1681o(a)(1) and § 1681n.

216.   Defendant IQDI’s false and negative credit reporting on her Trans Union report

       caused Plaintiff’s credit score to go down during this time frame.

217.   Plaintiff takes great care in working and guarding her credit report/score and is now

       embarrassed and humiliated that her score is not as good as it should be without the

       Defendant IQDI’s adverse account on Trans Union’s credit report.

218.   Defendant IQDI’s conduct has caused Plaintiff to delay refinancing opportunities to

       obtain the best possible rates and/or obtaining other credit until the Defendant

       IQDI’s adverse and harmful reporting is removed from her credit profile with Trans

       Union.

219.   Defendant IQDI failed to conduct a reasonable reinvestigation, or follow the

       procedures required by FCRA, 15 U.S.C. § 1681s-2(b), in regard to Plaintiff’s

       dispute.


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220.   Defendant IQDI negligently failed to comply with the requirements of the FCRA.

221.   As a result of Defendant IQDI’s failure to comply with the requirements of the

       FCRA, Plaintiff has suffered and continues to suffer, actual damages, including

       damage to credit worthiness, lost opportunity to receive credit, damage to

       reputation, emotional distress and interference with Plaintiff’s normal and usual

       activities for which Plaintiff seeks damages in an amount to be determined by the

       jury, as well as attorney fees under 15 U.S.C. § 1681o(a).

222.   Defendant IQDI willfully failed to comply with the requirements of the FCRA.

223.   As a result of Defendant IQDI’s failure to comply with the requirements of the

       FCRA, Plaintiff has suffered and continues to suffer, actual damages, including

       damage to credit worthiness, lost opportunity to receive credit, damage to

       reputation, emotional distress and interference with Plaintiff’s normal and usual

       activities for which Plaintiff seeks damages in an amount to be determined by the

       jury. Plaintiff also seeks punitive damages in an amount to be determined by the

       jury, as well as attorney fees under 15 U.S.C. § 1681n(a).

224.   Plaintiff is entitled to attorney’s fees and costs from Defendant IQDI pursuant to 15

       U.S.C. § 1681o(a)(2) and § 1681n.

                                        Summary

225.   The above-described collection conduct by Defendant IQDI in its efforts to collect

       this alleged debt from Plaintiff were oppressive, deceptive, misleading, unfair and

       illegal communications in an attempt to collect this alleged debt, all done in

       violation of numerous and multiple provisions of the FDCPA.


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226.   These collection actions taken by Defendant IQDI, and the collection employees

       employed by Defendant IQDI, were made in violation of multiple provisions of the

       FDCPA, including but not limited to all of the provisions of those laws cited herein.

227.   These violations by Defendant IQDI were knowing, willful, negligent and/or

       intentional, and Defendant IQDI did not maintain procedures reasonably adapted to

       avoid any such violations.

228.   Defendant IQDI’s collection efforts with respect to this alleged debt from Plaintiff

       caused Plaintiff to suffer concrete and particularized harm because the FDCPA

       provides Plaintiff with the legally protected right to be treated fairly and truthfully

       with respect to any action for the collection of any consumer debt.

229.   Defendant IQDI’s deceptive, misleading and unfair representations with respect to

       its collection effort were material misrepresentations that affected and frustrated

       Plaintiff’s ability to intelligently respond to Defendant IQDI’s collection efforts

       because Plaintiff could not adequately respond to the Defendant IQDI’s demand for

       payment of this debt.

                               Respondeat Superior Liability

230.   The acts and omissions herein of the individuals employed to collect debts by

       Defendant IQDI, and the other debt collectors employed as agents of Defendant

       IQDI who communicated with Plaintiff as further described herein, were committed

       within the time and space limits of their agency relationship with their principal,

       Defendant IQDI.

231.   The acts and omissions by these individuals and these other debt collectors were


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       incidental to, or of the same general nature as, the responsibilities these agents were

       authorized to perform by Defendant IQDI in collecting consumer debts.

232.   By committing these acts and omissions against Plaintiff, these individuals and

       these other debt collectors were motivated to benefit their principal, Defendant

       IQDI.

233.   Defendant IQDI is therefore liable to Plaintiff through the Doctrine of Respondeat

       Superior for the intentional and negligent acts, errors, and omissions done in

       violation of state and federal law by its collection employees, including but not

       limited to violations of the state and federal law in its attempts to collect this debt

       from Plaintiff.

                                     TRIAL BY JURY

234.   Plaintiff is entitled to and hereby respectfully demands a trial by jury on all issues

       so triable.

                                  CAUSES OF ACTION

                                        COUNT I.

       VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT

                                  15 U.S.C. § 1692 et seq.

235.   Plaintiff incorporates by reference all of the above paragraphs of this Complaint as

       though fully stated herein.

236.   The foregoing acts and omissions of Defendant IQDI and its agents constitute

       numerous and multiple violations of the FDCPA including, but not limited to, each

       and every one of the above-cited provisions of the FDCPA, 15 U.S.C. § 1692 et


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       seq., with respect to Plaintiff.

237.   As a result of Defendant IQDI’s violations of the FDCPA, Plaintiff is entitled to

       actual damages and statutory damages in an amount up to $1,000.00 pursuant to 15

       U.S.C. § 1692k(a)(2)(A); and, reasonable attorney’s fees and costs pursuant to 15

       U.S.C. § 1692k(a)(3), from Defendant IQDI herein.

                                          COUNT II.

                                           FRAUD

238.   Plaintiff incorporates by reference all of the above paragraphs of this Complaint as

       though fully stated herein.

239.   The Minnesota Court of Appeals has held:

              A prima facie case of fraudulent misrepresentation requires the
              plaintiff to establish that

                      (1) there was a false representation by a party of a past or
                      existing material fact susceptible of knowledge; (2) made with
                      knowledge of the falsity of the representation or made as of the
                      party’s own knowledge without knowing whether it was true
                      or false; (3) with the intention to induce another to act in
                      reliance thereon; (4) that the representation caused the other
                      party to act in reliance thereon; and (5) that the other party
                      suffered pecuniary damage as a result of the reliance.

              Hoyt Props., Inc., 736 N.W.2d at 318 (quotation omitted). “A
              misrepresentation may be made either (1) by an affirmative statement
              that is itself false or (2) by concealing or not disclosing certain facts
              that render the facts that are disclosed misleading.” M.H. v. Caritas
              Family Servs., 488 N.W.2d 282, 289 (Minn.1992).

       Beckman v. Wells Fargo Bank, N.A., No. A15-1819, 2016 WL 5640664, at *5–6

       (Minn. Ct. App. Oct. 3, 2016).




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240.   During the collection communications transmitted by Defendant IQDI, Webb and

       Doe to Plaintiff in the past year, Defendant IQDI, Webb and Doe repeatedly and

       falsely represented to that Plaintiff was obligated to pay interest and other charges

       on these obligations in excess of the amounts permitted by Minnesota law, when, in

       material fact, Plaintiff was not so obligated.

241.   Defendant IQDI, Webb and Doe knew that the alleged debt it was attempting to

       collect from Plaintiff had been padded with illegal and impermissible collection

       fees, and that therefore Plaintiff had no legal obligation to pay it, but it withheld that

       fact from Plaintiff and instead told Plaintiff that she must pay it.

242.   As a licensed Minnesota collection agency, Defendant IQDI knew or should have

       known that it had no right to add impermissible collection fees under the FDCPA or

       fees that were not provided under the contract or otherwise permitted by law. See

       Kojetin v. C U Recovery, Inc., 212 F.3d 1318 (8th Cir. 2000).

243.   Plaintiff has suffered actual pecuniary damages as a result of this Defendant IQDI,

       Webb and Doe’s deliberate fraudulent misrepresentations of these material facts.

244.   Defendant IQDI, Webb and Doe’s misrepresentations that Plaintiff owed this

       increasing amount, when Plaintiff in fact did not, were material misrepresentations

       of fact because they influenced Plaintiff’s judgment and decisions regarding how to

       deal with the alleged debt.

245.   Defendant IQDI, Webb and Doe knew that its misrepresentations to Plaintiff were

       false at the time Defendant IQDI, Webb and Doe made them.




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246.   Defendant IQDI, Webb and Doe’s misrepresentations were made intending that

       Plaintiff would rely on them.

247.   Plaintiff reasonably relied upon and acted upon Defendant IQDI, Webb and Doe’s

       misrepresentations and suffered damages in wasted time seeking legal advice and

       the costs of litigation in this matter to vindicate Plaintiff’s rights under the FDCPA,

       as well as other damages, including lost work time, upset, frustration,

       embarrassment, and stress.

                                        COUNT III.

             VIOLATIONS OF THE FAIR CREDIT REPORTING ACT

                                     U.S.C. § 1681 et seq.

                                     (DEFENDANT IQDI)

248.   Plaintiff incorporates by reference all of the above paragraphs of this Complaint as

       though fully stated herein.

249.   Defendant IQDI violated 15 U.S.C. §1681s-2(b) by failing to conduct a reasonable

       investigation with respect to the disputed information.

250.   As a result of Defendant IQDI’s violations of the FCRA, Plaintiff has suffered

       actual damages not limited to out-of-pocket expenses, detriment to her credit rating,

       emotional distress, embarrassment, mental anguish, anxiety, and humiliation in an

       amount to be determined at trial.

251.   Defendant IQDI’s conduct, actions, and inactions were willful, rendering it liable

       for damages in an amount to be determined by the Court pursuant to 15 U.S.C. §

       1681n.


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252.   Alternatively, Defendant IQDI’s violations were negligent, rendering it liable for

       damages under 15 U.S.C. § 1681o.

253.   Plaintiff is entitled to recover actual damages, statutory damages, and costs and

       attorneys’ fees from Defendant IQDI in an amount to be determined by the Court

       pursuant to 15 U.S.C. §§ 1681n and 1681o.

                                 PRAYER FOR RELIEF

       WHEREFORE, Plaintiff prays that judgment be entered against these Defendants

as follows:

       • for an award actual damages and statutory damages of $1,000.00 pursuant to 15

           U.S.C. §1692k(a)(2)(A) against Defendants IQDI, Webb and Doe and for

           Plaintiff;

       • for an award of costs of litigation and reasonable attorney’s fees pursuant to 15

           U.S.C. § 1692k(a)(3) against Defendants IQDI, Webb and Doe and for Plaintiff;

       • for actual damages for fraud that were directly caused by relying on the

           fraudulent misrepresentations made by Defendant IQDI, Webb and Doe to

           Plaintiff regarding this alleged debt;

       • for an award of actual, statutory and punitive damages, and costs and attorneys’

           fees against Defendant IQDI for violations of the FCRA and for Plaintiff, pursuant

           to 15 U.S.C. §§ 1681n and 1681o, in an amount to be determined at trial;

       •   for a judgment and decree and decree that Defendants have engaged in the

           conduct alleged above, entering Judgment in favor of Plaintiff;

       •   for all actual compensatory damages suffered;


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     • for all other recoveries and fees otherwise permitted by these claims and by law;

     • for attorney’s fees and costs of suit as provided by state and federal law;

     • for both pre- and post-judgment interest at the maximum allowable rate on any

        amounts awarded;

     • and for such other and further relief as may be just and proper.

                                       Respectfully submitted,

Dated: August 17, 2022                 THE BARRY LAW OFFICE, LTD

                                       By: s/ Peter F. Barry
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NOTICE TO PRESERVE ALL DOCUMENTS, RECORDINGS, AND TANGIBLE
THINGS, AND ALL ELECTRONICALLY STORED INFORMATION (“Notice”)


To the Defendant(s) Above:

As you know, this law firm has been retained to represent the Plaintiff in the above
captioned matter (“Lawsuit”). As used in this notice, the terms “you” and “your” refer
to the Defendant(s) above-named and their predecessors, successors, parents, subsidiaries,
divisions and affiliates and its respective officers, directors, agents, attorneys, accounts,
employees, partners, contractors and other persons occupying similar positions or
performing any functions on behalf of Defendant.

My client respectfully demands that you preserve all recordings, documents, tangible
things and electronically stored information that are in anyway relevant to the
Lawsuit. A civil suit has been commenced against you by my client in the District Court
herein, related to the matters described herein.

You have a legal duty to preserve evidence in this matter. This duty to preserve
evidence exists not only after the formal commencement of litigation, but whenever a party
knows or should know that litigation is reasonably foreseeable. The Minnesota Supreme
Court has specifically addressed this issue:

       We have said that the spoliation of evidence is the “failure to preserve
       property for another’s use as evidence in pending or future litigation.”
       Federated Mut. Ins. Co. v. Litchfield Precision Components, Inc., 456
       N.W.2d 434, 436 (Minn.1990) (quoting County of Solano v. Delancy, 264
       Cal.Rptr. 721, 724 n. 4 (Cal.Ct.App.1989)). Further, we have recognized
       that, regardless of whether a party acted in good or bad faith, “the affirmative
       destruction of evidence has not been condoned.” Patton, 538 N.W.2d at 119.
       The duty to preserve evidence2 exists not only after the formal
       commencement of litigation, but whenever a party knows or should know
       that litigation is reasonably foreseeable. See id. at 118–19. Breach of the duty
       to preserve evidence once such a duty arises may be sanctioned, under a
       court’s inherent authority, as spoliation. See id. at 118. Here, we specifically
       reaffirm our rule that custodial parties have a duty to preserve relevant
       evidence for use in litigation. Id. at 116. We also reaffirm our previously
       stated rule that, even when a breach of the duty to preserve evidence is not
       done in bad faith, the district court must attempt to remedy any prejudice that
       occurs as a result of the destruction of the evidence. Id.

Miller v. Lankow, 801 N.W.2d 120, 127–28 (Minn. 2011)



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Once a duty to preserve evidence has arisen, the breach of that duty may subject a
party to sanctions under a court’s inherent authority as spoliation. "Courts have long
afforded redress for the destruction of evidence * * *." Federated Mut. Ins. Co. v. Litchfield
Precision Components, Inc., 456 N.W.2d 434, 436 (Minn.1990).

Much of the information that is subject to disclosure or responsive to discovery in this
case may be stored on your current and former computer systems and other media
and devices, including personal digital assistants, voice messaging systems, online
repositories, telephone recording systems, hard drives and cell phones. The term
Electronically Stored Information (hereinafter “ESI”) should be afforded the broadest
possible meaning and includes (by way of example and not as an exclusive list) potentially
relevant information electronically, digitally, magnetically, optically or otherwise stored
as:

        • Audio and/or video records of any telephone calls and conversations
          made related to the events described in the Lawsuit
        • digital communications (for example email, voicemail, imaging,
          scanning, and/or instant messaging);
        • email service stores and server information (for example SQL Server,
          Oracle, Dropbox, Box, lotus, domino.nsf, Microsoft exchange.edb,
          Google Corporate Gmail, etc.);
        • word processing documents (for example Microsoft Word or
          WordPerfect files and all drafts thereof);
        • spreadsheets and tables;
        • accounting application data;
        • imaging and facsimile files;
        • recordings of any conversations with my client;
        • phone records of any calls to my client;
        • databases (for example Access, Oracle, SQL Server data);
        • Contact and relationship data management (for example Outlook, Ask or
          Interaction);
        • Calendar and diary application data;
        • online access data (for example temporary internet files, history files and
          cookies);
        • presentations (for example PowerPoint and Corel presentations);
        • network access and server activity logs relating to information exchanged
          between you and third parties, and by you with third parties;
        • project management application data;
        • backup and archival files;
        • letters, documents, or correspondence of whatever kind related to existing
          loss prevention policies, and changes, updates, alterations made to loss
          prevention policies for the past three (3) years


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My client hereby demands that you preserve both accessible and inaccessible ESI.
This demand is reasonable and necessary. Pursuant to the Rules of Civil Procedure, in the
event of an eventual civil suit you must identify all sources of ESI you decline to produce
and demonstrate why such sources are not reasonably accessible. For good cause shown
in that event, the Court may order production of ESI even if it is not reasonably accessible.
Accordingly, you must preserve ESI that you deem inaccessible so as not to preempt the
Court’s authority.

Preservation requires your immediate intervention. You must act immediately to
preserve potentially relevant ESI, including, without limitation, information and the earlier
of a created or last modified date for ESI concerning any activity, updates, changes,
alterations, or modifications to the information maintained by you related to the events
described in the above-referenced lawsuit, through the date of this demand. Adequate
preservation of ESI requires more than simply refraining from efforts to destroy or dispose
of such evidence. You must immediately intervene to prevent loss due to routine
operations or malfeasance and employ proper techniques and protocols to preserve ESI.
Booting a drive, examining its contents or running any application may irretrievably alter
the evidence contained therein and constitute spoliation of evidence.

You are also directed to immediately initiate a litigation hold for potentially relevant
ESI, documents and tangible things, and to act diligently and in good faith to secure
and audit compliance with that litigation hold. You are further directed to immediately
identify and modify or suspend features of your information systems and devices, which,
in routine operation, operate to cause the loss of potentially relevant ESI. Examples of
such features and operations that could result in spoliation include:

          • purging the contents of email repositories by age, capacity or any other
            criteria
          • using data or media wiping, disposal, erasure of encryption utilities or
            devices
          • overriding erasing, destroying or discarding backup media
          • reassigning, re-imaging or deposing of systems, servers, devices or media
          • running antivirus or other programs affecting wholesale metadata alteration
          • releasing or purging online storage repositories
          • using metadata stripper utilities
          • disabling server, packet or local instant messaging login
          • executing drive or file defragmentation or compression programs
          • shredding or other destruction of documents, routine or otherwise

You should anticipate that your officers, employees, or others may seek to hide,
destroy or alter ESI. This is not a concern that is unique to you or your organization.



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Rather it is simply conduct that occurs with such regularity that any custodian of ESI and
their counsel must anticipate and guard against its occurrence. You are directed to preserve
complete backup tape sets (including differentials and incrementals) containing recordings,
emails and ESI for any person involved in the activity, updates, changes, alterations, or
modifications to the information maintained by you related to the events described in the
above-referenced lawsuit, through the date of this demand, whether inside or outside of
your organization and control. You should also take affirmative steps to prevent anyone
with access to your data, systems or archives from seeking to modify destroy or hide ESI.

As an appropriate and cost-effective means of preservation, you should remove from
service and securely sequester the systems, media and devices housing potentially
relevant ESI. In the event that you deem it impractical to sequester those systems, we
believe that the breadth of preservation required, coupled with the modest number of
systems implicated, dictates that forensically sound imaging of the systems identified
above is expedient and cost effective. As we anticipate the need for forensic examination
of one or more of the systems and the presence of relevant evidence in forensically
accessible areas of the drives, we demand that you employ forensically sound ESI
preservation methods. Failure to use such methods imposes a significant threat of
spoliation and data loss. Be advised that a conventional copy, backup or ghosting of a hard
drive does not produce a forensically sound image because it only captures active, unlocked
data files and fails to preserve forensically significant data.

You should anticipate that certain ESI, including but not limited to recordings,
spreadsheets and databases will be sought in the forms or form in which it was
ordinarily maintained, that is in native form. Accordingly, you should preserve ESI in
such native forms and should not employ methods to preserve ESI that remove or degrade
the ability to search ESI by electronic means or that make it difficult or burdensome to use
that information.

You should further anticipate the need to disclose and produce system and
application metadata and act to preserve it. System metadata is information describing
the history and characteristics of other ESI. This information is typically associated with
tracking or managing an electronic file and often includes data reflecting a file’s name,
size, custodian, location and dates of creation and last modification or access. Metadata
may be overwritten or corrupted by careless handling or improper preservation, including
by moving, copying or examining the contents of files. As hard copies do not preserve
electronic search ability or metadata, they are not an adequate substitute for, or cumulative
of, electronically stored versions. If information exists in both electronic and paper forms,
you should preserve both the forms.

We desire to work with you to agree upon an acceptable protocol for forensically
sound preservation and can supply a suitable protocol if you will furnish an inventory
and description of the systems and media to be preserved. Alternatively, if you


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promptly disclose the preservation protocol you intend to employ, perhaps we can now
identify any points of disagreement and resolve them.

A successful and compliant ESI preservation effort requires expertise. If you do not
currently have such expertise, we urge you to engage the services of an expert in electronic
evidence and computer forensics. Perhaps our respective experts can work cooperatively
to secure a balance between evidence preservation and burden that is fair to both sides and
acceptable to the Court. I am available to discuss reasonable preservation steps; however,
you should not defer preservation steps pending such discussions if ESI may be lost or
corrupted as a consequence of delay. Should your failure to preserve potentially relevant
evidence result in the corruption, loss or delay of production of evidence to which we are
entitled, that failure would constitute spoliation of evidence.

Please confirm in writing no later than five (5) business days from the date of this
Notice, that you have taken the steps outlined in this Notice to preserve ESI and
tangible documents potentially relevant to this pending action. If you have not
undertaken the steps outlined above, or have taken other actions, please describe what you
have done to preserve potentially relevant evidence.

If you retain legal counsel with respect to these matters, please direct this Notice to their
immediate attention. Thank you for your anticipated cooperation in this vital matter.




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